Case 3:24-cv-09308-LJC Document2 Filed 12/23/24 Pagelof5

UNITED STATES DISTRICT COURT FE f i E D
NORTHERN DISTRICT OF CALIFORNIA

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PRAHLAD PUROHIT, Case No. 24-cv-09308-LI@LERK Ug yer
si TH District op 6) COURT
Plaintiff, ALIFORNIA
v. SCHEDULING ORDER FOR

IMMIGRATION MANDAMUS CASE
UR M. JADDOU,

Defendant.

This action seeks a writ of mandamus regarding immigration benefits filed pursuant to
the mandamus statute, 28 U.S.C. § 1361, and/or the Administrative Procedure Act, 5 U.S.C.
§§ 701 et seq, and is assigned to the Honorable Lisa J. Cisneros.

Magistrate Judge Jurisdiction. This case has been randomly assigned to a magistrate
judge, who, with written consent of all parties, may conduct all proceedings in a case, including
all pretrial and trial proceedings, entry of judgment and post-trial motions, with appeal directly to
the United States Court of Appeals for the Ninth Circuit. See “Consenting to the Jurisdiction of a
Magistrate Judge” on the Court’s webpage at www.cand.uscourts.gov for more information.

Petitioner must complete and file the attached form “Consent or Declination to
Magistrate Judge Jurisdiction” within 14 days of case initiation, and all other parties must file
within 14 days of appearing in the case, or as otherwise ordered by the Clerk or magistrate judge.

Important briefing deadlines. Unless the court orders otherwise, counsel must comply
with the briefing schedule below. Please note:

e Any party may request that the court set a case management conference, pursuant to Civil
L.R. 16-10, according to the schedule in Civil L.R. 16-2. Federal Rule of Civil Procedure
26 and Civil L.R. 16-9 and 16-10 shall apply.

e Motions shall be noticed in accordance with Civil L.R. 7-2.

* A party may request that the court decide the matter on the briefs and without oral
argument pursuant to Civil L.R. 7-1(b).
Case 3:24-cv-09308-LJC Document2 Filed 12/23/24 Page2of5

Case Management Event

Deadline

Last day for Defendant to file answer

60 days after service of complaint

Last day for Defendant to file motion for summary judgment
{required unless Petitioner has already filed such a motion)

120 days of service of the complaint

Last day for Petitioner to file and serve opposition and/or
counter-motion

30 days after service of Defendant's
motion

Last day for Defendant to serve and file a reply and/or
opposition

14 days of service of Plaintiff's
opposition or counter-motion

Last day for Plaintiff to serve and file a reply (if Plaintiff filed
a counter-motion)

14 days of service of Defendant's
opposition.

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Page 2

Case 3:24-cv-09308-LJC Document2 Filed 12/23/24 Page 3of5

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

~ PRAHLAD PUROHIT,» Case No. 24-cv-09308-LJC
Plaintiff,
CONSENT OR DECLINATION
Vs TO MAGISTRATE JUDGE
JURISDICTION

UR M. JADDOU,
Defendant.

INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you
are the party) or the party you represent (if you are an attorney in the case) choose(s) to consent
or decline to magistrate judge jurisdiction in this matter. Sign this form below your selection.

L) CONSENT to Magistrate Judge Jurisdiction

In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
United States magistrate judge conduct all further proceedings in this case, including trial and
entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
United States Court of Appeals for the Ninth Circuit.

OR

CO) DECLINE Magistrate Judge Jurisdiction

In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
magistrate judge conduct all further proceedings in this case and I hereby request that this case be
reassigned to a United States district judge.

DATE: NAME:

Signature or “/s/”

COUNSEL FOR
(OR “PRO SE”):

Case 3:24-cv-09308-LJC Document2 Filed 12/23/24 Page4of5

STANDING ORDER FOR ALL JUDGES
OF THE NORTHERN DISTRICT OF CALIFORNIA
CONTENTS OF JOINT CASE MANAGEMENT STATEMENT

All judges of the Northern District of California require identical information in Joint Case Management
__ Statements filed pursuant to Civil Local Rule 16-9. The parties must include the following information
in their statement which, except in unusually complex cases, should not exceed ten pages:

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Jurisdiction and Service: The basis for the court’s subject matter jurisdiction over plaintiff's
claims and defendant’s counterclaims, whether any issues exist regarding personal jurisdiction or
venue, whether any parties remain to be served, and, if any parties remain to be served, a
proposed deadline for service.

Facts: A brief chronology of the facts and a statement of the principal factual issues in dispute.

Legal Issues: A brief statement, without extended legal argument, of the disputed points of law,
including reference to specific statutes and decisions.

Motions: All prior and pending motions, their current status, and any anticipated motions.

Amendment of Pleadings: The extent to which parties, claims, or defenses are expected to be
added or dismissed and a proposed deadline for amending the pleadings.

Evidence Preservation: A brief report certifying that the parties have reviewed the Guidelines
Relating to the Discovery of Electronically Stored Information (“ESI Guidelines”), and
confirming that the parties have met and conferred pursuant to Fed. R. Civ. P. 26(f) regarding
reasonable and proportionate steps taken to preserve evidence relevant to the issues reasonably
evident in this action. See ESI Guidelines 2.01 and 2.02, and Checklist for ESI Meet and Confer.

Disclosures: Whether there has been full and timely compliance with the initial disclosure
requirements of Fed. R. Civ. P. 26, and a description of the disclosures made.

Discovery: Discovery taken to date, if any, the scope of anticipated discovery, any proposed
limitations or modifications of the discovery rules, a brief report on whether the parties have
considered entering into a stipulated e-discovery order, a proposed discovery plan pursuant to
Fed. R. Civ. P. 26(f), and any identified discovery disputes.

Class Actions: If a class action, a proposal for how and when the class will be certified, and
whether all attorneys of record for the parties have reviewed the Procedural Guidance for Class
Action Settlements.

Related Cases: Any related cases or proceedings pending before another judge of this court, or
before another court or administrative body.

Relief: All relief sought through complaint or counterclaim, including the amount of any
damages sought and a description of the bases on which damages are calculated. In addition, any
party from whom damages are sought must describe the bases on which it contends damages
should be calculated if liability is established.

Settlement and ADR: Prospects for settlement, ADR efforts to date, and a specific ADR plan for
the case, including compliance with ADR L.R. 3-5 and a description of key discovery or motions
necessary to position the parties to negotiate a resolution.

Other References: Whether the case is suitable for reference to binding arbitration, a special
master, or the Judicial Panel on Multidistrict Litigation.

Effective January 17, 2023
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Case 3:24-cv-09308-LJC Document2 _ Filed 12/23/24 Page5of5

Narrowing of Issues: Issues that can be narrowed by agreement or by motion, suggestions to
expedite the presentation of evidence at trial (e.g., through summaries or stipulated facts), and
any request to bifurcate issues, claims, or defenses. The parties shall jointly identify (in bold or
highlight) one to three issues which are the most consequential to the case and discuss how
resolution of these issues may be expedited.

Expedited Trial Procedure: Whether this is the type of case that can be handled under the
Expedited Trial Procedure of General Order No. 64 Attachment A. If all parties agree, they shall
instead of this Statement, file an executed Agreement for Expedited Trial and a Joint Expedited
Case Management Statement, in accordance with General Order No. 64 Attachments B and D.

Scheduling: Proposed dates for designation of experts, discovery cutoff, hearing of dispositive
motions, pretrial conference and trial.

Trial: Whether the case will be tried to a jury or to the court and the expected length of the trial.

Disclosure of Non-party Interested Entities or Persons: Whether each party has filed the
“Certification of Interested Entities or Persons” required by Civil Local Rule 3-15. In addition,
each party must restate in the case management statement the contents of its certification by
identifying any persons, firms, partnerships, corporations (including parent corporations) or other
entities known by the party to have either: (i) a financial interest in the subject matter in
controversy or in a party to the proceeding; or (ii) any other kind of interest that could be
substantially affected by the outcome of the proceeding. In any proposed class, collective, or
representative action, the required disclosure includes any person or entity that is funding the
prosecution of any claim or counterclaim.

Professional Conduct: Whether all attorneys of record for the parties have reviewed the
Guidelines for Professional Conduct for the Northern District of California.

20. Such other matters as may facilitate the just, speedy and inexpensive disposition of this matter.

Effective January 17, 2023 2
